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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

  TERRANCE ALDEN,                               )
                                                )
                 Plaintiff,                     )
                                                )
         v.                                     )       Cause No. 2:20-cv-00479-JPH-DLP
                                                )
  FEDERAL BUREAU OF PRISONS,                    )
  UNITED STATES,                                )
                                                )
                 Defendants.                    )

                              THE UNITED STATES OF AMERICA’S
                           BRIEF IN SUPPORT OF MOTION TO COMPEL

         Defendant, the United States of America, by counsel, respectfully moves this Court for an

  order requiring Plaintiff to respond to its outstanding discovery requests within thirty days.

         On June 23, 2022, the United States propounded the United States’ First Request for

  Production of Documents and the United States’ First Set of Interrogatories (collectively, the

  “Discovery Requests”). [Filing No. 122-1.] The Discovery Requests were mailed to the United

  States Penitentiary - McCreary, which is where Plaintiff was incarcerated when the requests were

  mailed to him and where he remains incarcerated.

         After the undersigned did not receive responses to the Discovery Requests within the

  timeframe provided for by the Federal Rules of Civil Procedure, on August 8, 2022, she sent a

  letter to Plaintiff reminding him of his discovery obligations. [Filing No. 122-2.] To date, the

  undersigned has not received responses to the Discovery Requests or any other response her

  August 8, 2022 letter.

         Rules 33 and 34 of the Federal Rules of Civil Procedure provide that Interrogatories and

  Requests for Production of Documents must be answered by the party to whom they are directed,
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  or objected to, within thirty days after service. The undersigned has contacted Plaintiff regarding

  the Discovery Requests, but he has not responded to her in any way.

         Discovery is currently set to close on August 24, 2022. [Filing No. 82.] Under the

  Federal Rules of Civil Procedure, the United States is entitled to completed responses to written

  discovery. Without such responses, the United States will be prejudiced in its preparation for

  dispositive motions and trial.

         WHEREFORE, the United States respectfully requests that the Court grant its motion to

  compel and order Plaintiff to respond to the Discovery Requests within thirty days.



                                                       Respectfully submitted,

                                                       ZACHARY A. MYERS
                                                       United States Attorney

                                               By:     /s/ Rachana N. Fischer
                                                       Rachana N. Fischer
                                                       Assistant United States Attorney




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 16, 2022, a copy of the foregoing was filed electronically.

  Notice of this filing was also sent by first class U.S. Mail, postage prepaid and properly

  addressed, to the following:

  TERRANCE ALDEN
  02595-135
  MCCREARY - USP
  MCCREARY U.S. PENITENTIARY
  Inmate Mail/Parcels
  P.O. BOX 3000
  PINE KNOT, KY 42635
                                                        /s/ Rachana N. Fischer
                                                        Rachana N. Fischer
                                                        Assistant United States Attorney

  Office of the United States Attorney
  Southern District of Indiana
  10 West Market Street, Suite 2100
  Indianapolis, IN 46204




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